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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                         CASE NO. 9:22-cv-81037-CANNON/REINHART


  MARK KRIEGER,                             )
                                            )
         Plaintiff,                         )
                                            )
                                            )
  vs.                                       )
                                            )
  TD BANK, N.A. a National                  )
  Banking Association, EQUIFAX              )
  INFORMATION SERVICES, LLC, a              )
  Georgia Limited Liability Company,        )
                                            )
         Defendants.                        )
  __________________________________________)

           DEFENDANTS’ UNOPPOSED JOINT MOTION TO EXCEED THE PAGE
               LIMITATION IN THEIR COMBINED MOTION TO DISMISS
              PLAINTIFF’S CORRECTED SECOND AMENDED COMPLAINT

           Defendants TD BANK, N.A. (“TD Bank”) and EQUIFAX INFORMATION

  SERVICES, LLC (“Equifax”), collectively referred to herein as “Defendants”, move the Court

  for leave to exceed the page limitation in their Combined Motion to Dismiss Plaintiff’s Corrected

  Second Amended Complaint (the “Motion to Dismiss”). As explained below, Defendants seek

  leave to file a Motion to Dismiss that will have fifteen (15) additional pages. In support of this

  motion, Defendants state as follows:

           1.    Pursuant to Rule 7.1(C)(2) of the Local Rules of the United States District Court

  for the Southern District of Florida, a motion is limited to twenty (20) pages, absent leave of

  Court.
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          2.       On December 19, 2022, the Court entered its Order Requiring Combined

  Responses. (D.E. 14). Accordingly, Defendants are required to submit a combined Motion to

  Dismiss Plaintiff’s Corrected Second Amended Complaint.

          3.       In order to fully address each of their respective legal arguments in support of

  their Combined Motion to Dismiss, Defendants respectfully request that the Court allow them an

  additional fifteen (15) pages (35 total pages) for their Combined Motion to Dismiss.

          4.       No party will be prejudiced by the Court granting this motion and it is in the

  interest of justice for Defendants to be allowed the additional pages in order to fully address the

  issues that before the Court.

          5.       For the Court’s convenience a proposed Order granting this motion is attached.

                     LOCAL RULE 7.1(a)(3) PRE-FILING CERTIFICATION

          Counsel for Defendants conferred with counsel for Plaintiff, who indicated that Plaintiff

  does not oppose the relief requested herein.

          WHEREFORE, Defendants TD BANK, N.A. and EQUIFAX INFORMATION

  SERVICES, LLC respectfully request leave to exceed the page limitation in their Motion to

  Dismiss Plaintiff’s Corrected Second Amended Complaint by an additional fifteen (15) pages.

  Dated this 12th day of September, 2023.                 Respectfully Submitted,


    /s/ Julian A. Jackson-Fannin                         Jason Daniel Joffe
    Julian A. Jackson-Fannin, Esq.                       Jason Daniel Joffe, Esq.
    Florida Bar No.: 0093220                             Florida Bar No. 0013564
    DUANE MORRIS LLP                                     Squire Patton Boggs (US) LLP
    201 S. Biscayne Blvd., Suite 3400                    200 S. Biscayne Blvd., Suite 3400
    Miami, Florida 33131-4325                            Miami, Florida 33131
    Tel: (305) 960-2253                                  Tel: (305) 577-7010
    JJFannin@duanemorris.com                             Jason.joffe@squirepb.com
    Attorneys for TD Bank, N.A.                          Attorneys for Equifax Information Services,
                                                         LLC
  DM1\14482997.1

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